                      EXHIBIT H


         (Second Declaration of N. del Rosso)




Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 1 of 21
Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 2 of 21
Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 3 of 21
Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 4 of 21
Segment One – June 6, 2020 Call – 12:39 PM

Nick:        Hello.

Yuri:        Hello.

Nick:        Hey, how you doing?

Yuri:        Good, thanks.

Nick:        Yeah, yeah, yeah, sorry, I was just listening to some music. I just heard the phone.

Male 2:      Oh, okay.

Nick:        How you doing?

Yuri:        Good, it’s warm and humid.

Nick:        Yeah. It is that. I apologize about you were talking about Mark Millie the other
             day weren’t you? For the [inaudible] into the square and I thought for some reason
             I thought you were talking about the former admiral who was joint chief of staff, I
             can’t remember his name now, Mike McMullin.

Yuri:        Yeah, yeah, the admiral.

Nick:        Yeah. I have to agree with you, it wasn’t very good optics at all.

Yuri:        Yeah and you still got a doesn’t look good. I-I-I-I don’t know. I’m intrigued to see
             the developments in Buffalo.

Nick:        Yeah.

Yuri:        When what 58 cops resigned in protest.

Nick:        No, I haven’t seen that. 58 resigned at the officers being charged or--?

Yuri:        Yeah, yeah. That’s be treatment or mistreatment. You know, depending on the
             point of view so that this really is developing in a quite a confrontational situation.
             The cops are starting to fight back. I don’t know where it's going to lead I think
             there’s some serious mediation may be required.

Nick:        Probably, unlikely under this administration. They seem to want more conflict.

Yuri:        Yeah, that’s true. But anyways, so there’s Andrew Cuomo is talking about the
             Mayor of Buffalo, yeah, I-I-I-I don’t know and it may develop into a serious law
             enforcement crisis. 58 people, even for a big city like Buffalo is not an insubstantial
             number of cops.




                                          Page 1 of 7


    Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 5 of 21
Nick:      Yeah, there always seems to be sort of an over, not saying that it isn’t justified in
           the terms of the way people get treated but there always seems to be an over-
           reaction. Everybody jumps on a bandwagon. Both sides of the fence and--

Yuri:      Absolutely. I mean it’s the proverbial pendulum swinging back and forth. It is
           going to take some time and effort until it balances out.

Nick:      Do you see that happening? I don’t know, this country is so divided. It’s kind of
           scary.

Yuri:      It is indeed.

Nick:      Bringing children up in this environment is quite worried. Forget what’s going on
           around us in health scope, but just in this the issues that are going on outside here.
           Outside is actually race and police [inaudible]. Anyhow, I don’t think I’m in a
           position to just sort it all out so.

Yuri:      No, no, not even trying to.

Nick:      Anyway, you come back with an interest and comments and I thought maybe I
           should follow up and have a chat as you suggested. Where are we at the moment
           in terms of--?

Yuri:      Yeah, so—All items.

Nick:

Yuri:




Nick:      You sent me a document?

Yuri:      Yeah, you didn’t see it?

Nick:      No.

Yuri:


Nick:      Do you mind if I just take a quick look for that?

Yuri:      Of course.

Nick:      You sent it on this Signal?

Yuri:      Yeah.



                                         Page 2 of 7


    Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 6 of 21
Nick:        I didn’t see it.

Yuri:        Okay, let me resend it to you because it’s rather critical two-pager I think it’s
             important that you read it before we--

Nick:        Okay, I’ll take a quick read of it and come back to you.

Yuri:        Okay.

Nick:        Alright. Thanks.

Yuri:        I’ll talk to you then.

Nick:        Okay, bye.

Segment One – June 6, 2020 Call – 1:04 PM

Yuri:        Hey, Nick.

Nick:        Hey, Yuri, thanks for that. I’m sorry I didn’t see it yesterday, it isn’t on my system.

Yuri:        That’s alright.

Nick:        It may not have been received.

Yuri:        Do you need more time to digest?

Nick:        No, I think I got the general gist of it.

Yuri:        Okay, alright.

Nick:




Yuri:

Nick:



Yuri:




                                           Page 3 of 7


    Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 7 of 21
Nick:

Yuri:




Nick:


Yuri:




                                 Page 4 of 7


    Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 8 of 21
Nick:

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                                 Page 5 of 7


    Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 9 of 21
Nick:



Yuri:




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                                 Page 6 of 7


   Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 10 of 21
Yuri:




Nick:

Yuri:

Nick:      Understood. Alright, Yuri, thank you.      I appreciate the time you’ve taken
           [inaudible].

Yuri:      Alright, enjoy the rest of your weekend.

Nick:      Yeah, you too. Thanks, Yuri. Take care now.

Yuri:      Thank you.




                                       Page 7 of 7


   Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 11 of 21
Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 12 of 21
Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 13 of 21
Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 14 of 21
Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 15 of 21
Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 16 of 21
Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 17 of 21
Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 18 of 21
Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 19 of 21
Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 20 of 21
Case 1:20-cv-00954-WO-JLW Document 157-8 Filed 02/09/23 Page 21 of 21
